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THE UNITED STATES DISTRICT COURT
FOR THE MIDDLE DISTRICT OF PENNSYLVANIA

UNITED STATES OF AMERICA,
V. : 3:20-CR-269
(JUDGE MARIANI)
THOMAS HARTLEY
Defendant.
ORDER

AND NOW, THIS le” DAY OF NOVEMBER, 2020, upon consideration of
Defendant's Motion to Continue Pretrial Motions Deadline and Trial (Doc. 26) and the
Government’s concurrence therewith, the Court finds that the ends of justice will be served
by affording such an extension. The Court further finds that an extension outweighs the
best interests of the public and the Defendant in a speedy trial, and that any delay
occasioned by this continuance shall be excluded from speedy trial calculations pursuant to
18 U.S.C. § 3161(h)(7).

ACCORDINGLY, IT IS HEREBY ORDERED THAT Defendant's Motion (Doc. 26) is
GRANTED. Defendant shall file all pretrial motions no later than February 10, 2021. Jury

Selection and Trial will be scheduled after the expiration of the motion deadline, or, if one or
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more pretrial motions are filed, or a motion seeking a further extension of time to file pretrial

motions is granted, after the resolution of any such pretrial motion that may be filed.

 

 

Robert D-Wtériani
United States District Judge
